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                      Attachment 3
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File ID#   payloadAsUTF                                                                           eventName                           srcIp         userName startDateTime
           <181>Feb 21 01:51:29 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.86) [NOTICE]
           /data/aspera/footage//footage10/footage10_             _2000_dunk_contest_hd.mxf
   1       downloaded (24 bytes, 312.08KB/sec)                                                    pure‐ftpd: File/Folder downloaded   47.197.207.86 [f—ry]   Feb 21, 2022, 1:51:29 AM
           <181>Feb 21 01:51:29 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.86) [NOTICE]
           /data/aspera/footage//footage10/footage10              _2000_dunk_contest_hd.mxf
   2       downloaded (42860404 bytes, 1554.80KB/sec)                                             pure‐ftpd: File/Folder downloaded   47.197.207.86 [f—ry]   Feb 21, 2022, 1:51:29 AM
           <181>Feb 21 00:54:36 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.86) [NOTICE]
           /data/aspera/footage//footage25/GP1_CICC_committee_meet_and_greet_22022
   3       /DCIM/909_0220/MVI_1370.MP4 downloaded (23 bytes, 468.70KB/sec)                        pure‐ftpd: File/Folder downloaded   47.197.207.86 [f—ry]   Feb 21, 2022, 12:54:36 AM
           <181>Feb 21 00:51:06 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.86) [NOTICE]
           /data/aspera/footage//astro/archived/home/aspera/scripts/hotfolders/logs/spox.log
   4       downloaded (481780 bytes, 943.76KB/sec)                                                pure‐ftpd: File/Folder downloaded   47.197.207.86 [f—ry]   Feb 21, 2022, 12:51:06 AM
           <181>Feb 21 00:51:05 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.86) [NOTICE]
           /data/aspera/footage//astro/archived/home/aspera/scripts/hotfolders/logs/content_net
   5       work_lr.log downloaded (292180 bytes, 850.88KB/sec)                                    pure‐ftpd: File/Folder downloaded   47.197.207.86 [f—ry]   Feb 21, 2022, 12:50:56 AM
           <181>Feb 21 00:50:56 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.86) [NOTICE]
           /data/aspera/footage//astro/archived/home/aspera/scripts/hotfolders/     tatstest.sh
   6       downloaded (402 bytes, 21.12KB/sec)                                                    pure‐ftpd: File/Folder downloaded   47.197.207.86 [f—ry]   Feb 21, 2022, 12:50:46 AM
           <181>Feb 21 00:50:45 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.86) [NOTICE]
           /data/aspera/footage//astro/archived/home/aspera/scripts/curlOut downloaded (59
   7       bytes, 2.11KB/sec)                                                                     pure‐ftpd: File/Folder downloaded   47.197.207.86 [f—ry]   Feb 21, 2022, 12:50:45 AM
                                 Case 8:24-cr-00068-KKM-TGW Document 52-3 Filed 06/24/24 Page 3 of 8 PageID 472


File ID# payloadAsUTF                                                                            eventName                           srcIp           userName   startDateTime
         <181>Sep 14 22:13:21 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage/footage_vivo_check_091422_                  360_degree_E
    1    NT202200021371080001r.mxf downloaded (119980104 bytes, 25082.40KB/sec)                  pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:13:21 PM
         <181>Sep 14 22:14:20 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage/footage_vivo_check_091422_                 _Alley_Oop_ENT
    2    202200021371080002r.mxf downloaded (149921030 bytes, 3775.81KB/sec)                     pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:14:20 PM
         <181>Sep 14 22:15:47 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage/footage_vcheck_091422_Cutaway_ENT20220002137113000
    3    1r.mxf downloaded (483118176 bytes, 3740.79KB/sec)                                      pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:15:47 PM
         <181>Sep 14 22:19:22 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage18/0001308106.mp4 downloaded (484577762 bytes,
    4    5529.88KB/sec)                                                                          pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:19:22 PM
         <181>Sep 14 22:20:09 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage/footage_         _022700.mp4 downloaded (1567258411
    5    bytes, 3942.88KB/sec)                                                                   pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:20:09 PM
         <181>Sep 14 22:20:33 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//            SOUND_FILES/SND_01/22Y08M28/106T02.wav
    6    downloaded (18168300 bytes, 6140.97KB/sec)                                              pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:20:34 PM
         <181>Sep 14 22:20:40 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage/footage_1stqtr_        _022700.mp4 downloaded
    7    (1684484259 bytes, 4340.99KB/sec)                                                       pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:20:41 PM
         <181>Sep 14 22:20:56 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage/footage_3rdqtr_        _022700.mp4 downloaded
    8    (1785403234 bytes, 4008.68KB/sec)                                                       pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:20:56 PM
         <181>Sep 14 22:21:34 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage/footage_1stqtr_        061291.mp4 downloaded
    9    (1799885447 bytes, 4421.63KB/sec)                                                       pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:21:34 PM
         <181>Sep 14 22:41:02 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage10/20220913_             _0042100406 ‐ Above The Rim
   10    (Right).mp4 downloaded (5205775283 bytes, 4432.31KB/sec)                                pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:41:03 PM
         <181>Sep 14 22:41:04 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage10/20220913             __0042100406 ‐ Above the Rim
   11    (Left).mp4 downloaded (5205722241 bytes, 4425.46KB/sec)                                 pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:41:04 PM
         <181>Sep 14 22:41:54 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage10/20220913_            __0042100406 ‐ LO SLA.mp4
   12    downloaded (5205668032 bytes, 4243.19KB/sec)                                            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:41:54 PM
         <181>Sep 14 22:43:29 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage10/20220913_            __0042100406 ‐ BROADCAST.mp4
   13    downloaded (5205843583 bytes, 3929.87KB/sec)                                            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:43:29 PM
         <181>Sep 14 22:59:47 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
         /data/aspera/footage//footage10/20220913_            __0042100406 ‐ Left Handheld.mp4
   14    downloaded (5205547184 bytes, 4532.13KB/sec)                                            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]     Sep 14, 2022, 10:59:47 PM
                             Case 8:24-cr-00068-KKM-TGW Document 52-3 Filed 06/24/24 Page 4 of 8 PageID 473


     <181>Sep 14 23:00:36 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage10/20220913_             __0042100406 ‐ RO SLA.mp4
15   downloaded (5205848090 bytes, 4954.43KB/sec)                                            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 11:00:36 PM
     <181>Sep 14 23:01:08 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage10/20220913_             __0042100406 ‐ PXP.mp4
16   downloaded (5205529035 bytes, 4414.47KB/sec)                                            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 11:01:08 PM
     <181>Sep 14 23:02:13 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage10/20220913_             __0042100406 ‐ Mobile.mp4
17   downloaded (5205828063 bytes, 4013.36KB/sec)                                            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 11:02:13 PM
     <181>Sep 14 23:18:12 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage10/20220913_             __0042100406 ‐ Right Handheld.mp4
18   downloaded (5205612757 bytes, 4616.21KB/sec)                                            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 11:18:12 PM
     <181>Sep 14 23:18:35 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage10/20220913_             __0042100406‐ High‐Tight.mp4
19   downloaded (5205686606 bytes, 4735.30KB/sec)                                            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 11:18:35 PM
     <181>Sep 14 19:10:07 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//Refops/378_Bench               _4_5_22          Bench.mp4
20   downloaded (18088598 bytes, 5641.93KB/sec)                                              pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:10:07 PM
     <181>Sep 14 19:10:06 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//Refops/376_Bench_             _2_11_22         mp4 downloaded
21   (17451292 bytes, 6491.93KB/sec)                                                         pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:10:07 PM
     <181>Sep 14 19:10:18 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//Refops/bbops_22RPSM_292_             _102621.mp4 downloaded
22   (23318948 bytes, 14192.09KB/sec)                                                        pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:10:09 PM
     <181>Sep 14 19:10:09 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//Refops/bbops_22RPSM_294_              _103122.mp4 downloaded
23   (31435358 bytes, 20965.20KB/sec)                                                        pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:10:09 PM
     <181>Sep 14 19:10:29 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//Refops/bbops_22RPSM_305_              _110221.mp4 downloaded
24   (24481739 bytes, 17819.00KB/sec)                                                        pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:10:20 PM
     <181>Sep 14 19:10:40 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//Refops/bbops_22RPSM_252_               112421.mp4 downloaded
25   (38683054 bytes, 13943.04KB/sec)                                                        pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:10:31 PM
     <181>Sep 14 19:10:51 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//Refops/bbops_22RPSM_269_             _121021.mp4 downloaded
26   (28992685 bytes, 2137.48KB/sec)                                                         pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:10:42 PM
     <181>Sep 14 19:11:00 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//Refops/bbops_22RPSM_265_               _112421.mp4 downloaded
27   (31452436 bytes, 1532.46KB/sec)                                                         pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:11:00 PM
     <181>Sep 14 19:11:25 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//drops/mm1_                _2nd_4x5_g4_phantom
28   _mix_h265_4x5.mp4 downloaded (22124682 bytes, 14806.74KB/sec)                           pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:11:25 PM
                             Case 8:24-cr-00068-KKM-TGW Document 52-3 Filed 06/24/24 Page 5 of 8 PageID 474


     <181>Sep 14 19:16:47 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23               _moments_Livecall_ENT2022000
29   21371740006r.mov downloaded (483290854 bytes, 4418.54KB/sec)                           pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:16:47 PM
     <181>Sep 14 19:17:17 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//brapprovals/promos_091322        _App_VO_Mix_530p.mp4
30   downloaded (225595029 bytes, 4219.99KB/sec)                                            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:17:17 PM
     <181>Sep 14 19:19:40 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_               moments_           _Livecall_
31   ENT202200021371740003r.mov downloaded (647491623 bytes, 3685.69KB/sec)                 pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:19:40 PM
     <181>Sep 14 19:19:54 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//          mxf/0000050045_ENT202200021365850001r.mxf
32   downloaded (525051538 bytes, 3791.63KB/sec)                                            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:19:54 PM

     <181>Sep 14 19:20:10 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_              _moments_            _B_Rol
33   l_Hilites_ENT202200021371740002r.mov downloaded (1037924859 bytes, 3274.71KB/sec) pure‐ftpd: File/Folder downloaded        47.197.207.14   [f—ry]   Sep 14, 2022, 7:20:10 PM
     <181>Sep 14 19:20:21 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//         /mxf/0000177399_ENT202200021365850003r.mxf
34   downloaded (28640915 bytes, 2916.61KB/sec)                                          pure‐ftpd: File/Folder downloaded      47.197.207.14   [f—ry]   Sep 14, 2022, 7:20:21 PM
     <181>Sep 14 19:20:41 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//         /mxf/0000177399_ENT202200021365850002r.mxf
35   downloaded (60170823 bytes, 1973.99KB/sec)                                          pure‐ftpd: File/Folder downloaded      47.197.207.14   [f—ry]   Sep 14, 2022, 7:20:41 PM
     <181>Sep 14 19:20:43 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//         /mxf/0000174994_ENT202200021365850006r.mxf
36   downloaded (94392345 bytes, 2870.87KB/sec)                                          pure‐ftpd: File/Folder downloaded      47.197.207.14   [f—ry]   Sep 14, 2022, 7:20:44 PM
     <181>Sep 14 19:20:54 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage/          /mxf/0000174994_ENT202200021365850004r.mxf
37   downloaded (94425684 bytes, 2156.04KB/sec)                                          pure‐ftpd: File/Folder downloaded      47.197.207.14   [f—ry]   Sep 14, 2022, 7:20:54 PM
     <181>Sep 14 19:21:09 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23               _moments_Funny_ENT20220002
38   1371740004r.mov downloaded (103728814 bytes, 1811.70KB/sec)                         pure‐ftpd: File/Folder downloaded      47.197.207.14   [f—ry]   Sep 14, 2022, 7:21:01 PM

     <181>Sep 14 19:21:35 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_              _moments_            _Studio_S
39   how_ENT202200021371740001r.mov downloaded (1452104182 bytes, 3596.16KB/sec)            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:21:35 PM
     <181>Sep 14 19:21:46 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_              _moments_           _Livecall_
40   ENT202200021371740007r.mov downloaded (175433689 bytes, 4659.31KB/sec)                 pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:21:46 PM
     <181>Sep 14 19:22:19 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_               moments_Livecall_ENT2022000
41   21371740005r.mov downloaded (488624867 bytes, 3021.67KB/sec)                           pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:22:19 PM
                             Case 8:24-cr-00068-KKM-TGW Document 52-3 Filed 06/24/24 Page 6 of 8 PageID 475


     <181>Sep 14 19:24:41 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_        _g2_050687_Cutaway_ENT2022000213
42   70860001r.mov downloaded (517607976 bytes, 3595.90KB/sec)                          pure‐ftpd: File/Folder downloaded       47.197.207.14   [f—ry]   Sep 14, 2022, 7:24:41 PM
     <181>Sep 14 19:27:12 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_        _g2_050687_Cutaway_ENT2022000213
43   70860003r.mov downloaded (1179809853 bytes, 3556.50KB/sec)                         pure‐ftpd: File/Folder downloaded       47.197.207.14   [f—ry]   Sep 14, 2022, 7:27:12 PM
     <181>Sep 14 19:29:56 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_        _g2_050687_Cutaway_ENT2022000213
44   70860002r.mov downloaded (1755020709 bytes, 3426.48KB/sec)                         pure‐ftpd: File/Folder downloaded       47.197.207.14   [f—ry]   Sep 14, 2022, 7:29:56 PM
     <181>Sep 14 19:32:09 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_              _moments_Studio_Comments_E
45   NT202200021371740008r.mov downloaded (3583429167 bytes, 3401.21KB/sec)             pure‐ftpd: File/Folder downloaded       47.197.207.14   [f—ry]   Sep 14, 2022, 7:32:09 PM
     <181>Sep 14 19:32:23 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_         g2_050687_Cutaway_ENT2022000213
46   70860005r.mov downloaded (1016360157 bytes, 3207.30KB/sec)                         pure‐ftpd: File/Folder downloaded       47.197.207.14   [f—ry]   Sep 14, 2022, 7:32:23 PM
     <181>Sep 14 19:34:08 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_        _g2_050687_Cutaway_ENT2022000213
47   70860004r.mov downloaded (2414225231 bytes, 4162.72KB/sec)                         pure‐ftpd: File/Folder downloaded       47.197.207.14   [f—ry]   Sep 14, 2022, 7:34:08 PM

     <181>Sep 14 19:51:32 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//          Vivo_content_to_neulion/19840129_All‐
48   Star_Game_East_West_Portuguese.mp4 downloaded (7915944523 bytes, 4339.73KB/sec)        pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:51:32 PM
     <181>Sep 14 19:57:36 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//footage23/footage23_                       .mov downloaded
49   (7154200551 bytes, 4211.10KB/sec)                                                      pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 7:57:36 PM
     <181>Sep 14 21:25:10 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//         /2022_PilotoCamisas_ProjectManager/20220815       _Stor
50   yCamisas_Piloto_PIP2.mov downloaded (87349936 bytes, 5625.89KB/sec)                    pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:25:10 PM
     <181>Sep 14 21:25:29 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage/           2022_PilotoCamisas_ProjectManager/20220815      A_Stor
51   yCamisas_Piloto_PIP1.mov downloaded (90226272 bytes, 2598.70KB/sec)                    pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:25:29 PM
     <181>Sep 14 21:25:41 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//          2022_PilotoCamisas_ProjectManager/20220824_      _Stor
52   yCamisas_Piloto_PIP1_v2.mov downloaded (217749344 bytes, 7163.91KB/sec)                pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:25:41 PM
     <181>Sep 14 21:25:47 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage/            022_PilotoCamisas_ProjectManager/20220824        Stor
53   yCamisas          _Box_SF1962.mov downloaded (55070472 bytes, 9500.20KB/sec)           pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:25:47 PM
     <181>Sep 14 21:26:02 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//           022_PilotoCamisas_ProjectManager/20220824_       Stor
54   yCamisas_Geral_PIP1_v2.mov downloaded (217749344 bytes, 3192.68KB/sec)                 pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:26:02 PM
     <181>Sep 14 21:26:08 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//          2022_PilotoCamisas_ProjectManager/20220829_      _Stor
55   yCamisas_Box_89a96_v3.mov downloaded (52433288 bytes, 9115.33KB/sec)                   pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:26:08 PM
                             Case 8:24-cr-00068-KKM-TGW Document 52-3 Filed 06/24/24 Page 7 of 8 PageID 476



     <181>Sep 14 21:26:25 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage/           /2022_PilotoCamisas_ProjectManager/20220829_     _Stor
56   yCamisas_Box_BodasDeDiamante_v4.mov downloaded (178035968 bytes, 10975.04KB/sec) pure‐ftpd: File/Folder downloaded         47.197.207.14   [f—ry]   Sep 14, 2022, 9:26:25 PM
     <181>Sep 14 21:26:29 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//          /2022_PilotoCamisas_ProjectManager/20220829_     _Stor
57   yCamisas_Box_CE_17a18_v3.mov downloaded (52863944 bytes, 17927.72KB/sec)               pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:26:29 PM
     <181>Sep 14 21:26:33 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//          /2022_PilotoCamisas_ProjectManager/20220829       Stor
58   yCamisas_Box_              _v3.mov downloaded (59221144 bytes, 19601.35KB/sec)         pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:26:33 PM
     <181>Sep 14 21:26:35 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//           2022_PilotoCamisas_ProjectManager/20220831      _Stor
59   yCamisas_Box_89a96_v4.mov downloaded (52535192 bytes, 20694.28KB/sec)                  pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:26:36 PM
     <181>Sep 14 21:28:11 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage/           /2022_PilotoCamisas_ProjectManager/20220824_     _Stor
60   yCamisas_Geral_PIP2_v2.mov downloaded (901605744 bytes, 4494.91KB/sec)                 pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:28:11 PM
     <181>Sep 14 21:28:20 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//        il/2022_PilotoCamisas_ProjectManager/20220824_     _Stor
61   yCamisas_Piloto_PIP2_v2.mov downloaded (901605744 bytes, 5230.23KB/sec)                pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:28:20 PM
     <181>Sep 14 21:29:20 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage/            2022_PilotoCamisas_ProjectManager/20220831_     _Stor
62   yCamisas_IntroGSW_v6.mov downloaded (974821424 bytes, 5805.38KB/sec)                   pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:29:20 PM
     <181>Sep 14 21:29:28 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//          /2022_PilotoCamisas_ProjectManager/20220825_     _Stor
63   yCamisas_          _Outro_v1.mov downloaded (968639244 bytes, 4351.22KB/sec)           pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:29:28 PM
     <181>Sep 14 21:31:12 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage/           /2022_PilotoCamisas_ProjectManager/20220831_      Stor
64   yCamisas_Piloto_OutroGSW_v5.mov downloaded (961578636 bytes, 5477.73KB/sec)            pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:31:13 PM
     <181>Sep 14 21:31:14 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage/            2022_PilotoCamisas_ProjectManager/2022_StoryCamisa_Pi
65   loto_         prproj downloaded (1874999 bytes, 3891.13KB/sec)                         pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:31:14 PM
     <181>Sep 14 21:31:27 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage/            2022_PilotoCamisas_ProjectManager/QuickWhippingWho
66   WHOO3_10_1.aiff downloaded (310334 bytes, 1262.32KB/sec)                               pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:31:17 PM
     <181>Sep 14 21:31:16 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//          /2022_PilotoCamisas_ProjectManager/AT176_12 Bouncin
67   Bassed Beat.aiff downloaded (25120830 bytes, 14196.41KB/sec)                           pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:31:17 PM
     <181>Sep 14 21:31:38 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//           2022_PilotoCamisas_ProjectManager/Fotos/GettyImages‐
68   954328198.jpg downloaded (5450354 bytes, 8365.65KB/sec)                                pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:31:28 PM
     <181>Sep 14 21:32:22 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//           2022_PilotoCamisas_ProjectManager/20220901_      Stor
69   yCamisas_IntroGSW_v7.mov downloaded (1091866752 bytes, 6141.78KB/sec)                  pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:32:22 PM
                             Case 8:24-cr-00068-KKM-TGW Document 52-3 Filed 06/24/24 Page 8 of 8 PageID 477


     <181>Sep 14 21:35:32 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage//          2022_PilotoCamisas_ProjectManager/wetransfer_2022082
     5     _storycamisas_        _outro_v1‐mov_2022‐08‐25_1615.zip downloaded
70   (2143065599 bytes, 8655.54KB/sec)                                                       pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:35:33 PM
     <181>Sep 14 21:40:34 njpftpc1b pure‐ftpd: ([f—ry]@47.197.207.14) [NOTICE]
     /data/aspera/footage/           2022_PilotoCamisas_ProjectManager/
                                               _highlights.mxf downloaded (4709578072 bytes,
71   8360.26KB/sec)                                                                          pure‐ftpd: File/Folder downloaded   47.197.207.14   [f—ry]   Sep 14, 2022, 9:40:34 PM
